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Case 3:02-cv-05570-WHA Document 137 Filed 09/09/03 Page 1 of 28

LATHAM & WATKINS LLP
Peter A. Wald (Bar No. 085705)
John P. Flynn (Bar No. 141094)
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ALTSHULER, BERZON, NUSSBAUM,
RUBIN & DEMAIN
Michael Rubin (Bar No. 80618)
Scott A. Kronland (Bar No. 171693)
Rebekah B. Evenson (Bar No. 207825)
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San Francisco, California 94108
Telephone: (415) 421~7151
Facsirnile: (415) 362-8064

Attorneys for Plaintiffs

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA

JANE DOE 1, et al., CASE NO. C-02-5570~WHA
Plaintiffs, DECLARATION OF RANDALL T. KIM IN
SUPPGRT OF PLAINTIFFS’ MOTION TO
v. CHANGE TIME FOR CLASS
CERTIFICATION MOTION
LAKIREDDY BALI REDDY, et al., [LOCAL RULE 6-3}
Defendants.

 

 

1, Randall T. Kim, declare as folloWs:

1. l am an attorney admitted to practice law in the State of California and
before this Court and arn associated With the law firm of Latham & Watkins LLP, counsel to
plaintiffs Jane Does l through Vlll, Sreekanth Kollipara, and Jarrnani and Lakshrni Prattipati

(hereinafter “Plaintiffs”) in this matter. I have personal and firsthand knowledge of the facts

 

 

DECLARATION OF R. KIM IN SUPPCRT OF MOTION TO
CHANGE TIME ~ CASE NO. C-02»5570

 

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Case 3:02-cv-05570-WHA Document 137 Filed 09/09/03 Page 2 of 28

stated in this declaration and, if called upon to do so, 1 could and would testify competently
thereto. 1 make this declaration in support of Plaintiffs’ Motion to Change Time for Class
Certification Motion, filed simultaneously herewith

2. Plaintiffs initially noticed the depositions of defendants Pasand Madras
Cuisine and 1 ay Construction on June 12, 2003. True and correct copies of those deposition
notices are attached hereto as Exhibits A and B, respectively The dates for deposition set by
those notices, which were issued pursuant to paragraph 10 of this Court’s Supplemental ()rder to
Grder Setting 1nitial Case Management Conference in Civil Cases Before Judge William Alsup
(“Supplemental ()rder”), were July 17 and 24.

3. Defendants exercised their right under the Supplemental ()rder to re~set
those depositions, re-calendaring both for August 15, 2003.

4. 1n late July, for the mutual convenience of all parties (there were then two
other depositions set for that same day), plaintiffs agreed to defendants’ request to take off
calendar and then to re-schedule the FRCP 30(b)(6) depositions of Pasand Madras Cuisine and
J ay Construction. l

5. C)n August 4, 2003, the Court issued an Order to Show Cause requiring
the plaintiffs to explain their intentions with respect to class certification by August 11. The
Court also set September 18 as the date by which plaintiffs were required to move for class
certification as to any of their claims At the time, the parties were about to begin an exhaustive
August deposition schedule, with approximately 14 depositions then scheduled for the month.

6. Defendants Jayaprakash Reddy Lakireddy (L.B. Reddy’s brother) and
defendant L.B. Reddy were scheduled to be deposed on August 8 and August 12, respectively
On the morning of Jayapral<ash’s deposition, however, counsel for defendants, Mr. Bolechowsl<i,
fell ill and could not proceed with the deposition Plaintiffs accommodated Mr. Bolechowski’$
unfortunate predicament by agreeing to take off calendar and later to re-schedule the depositions
of both Jayaprakash Lakireddy and L.B. Reddy. Those depositions have not yet been conducted

7. On August 29, after reviewing the defendants’ inadequate wage and hour

discovery responses, 1 left a voicernail for David Hart, counsel for the non-Prasad defendants,
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DECLARATION OF R. Kll\/l IN SUPPORT OF MOTION TO
CHANGE TIME ~ CASE NO. C~02-5570

 

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Case 3:02-cv-05570-WHA Document 137 Filed 09/09/03 Page 3 of 28

notifying him that plaintiffs intended to take the depositions of Pasand Madras Cuisine’s and J ay
Construction’s 30(b)(6) designees prior to the September 18 deadline imposed by the Court and
inquiring about witness availability 1 did not hear back from Mr. Hart.

8. On September 2, 1 wrote a letter to Mr. Hait proposing September 15 and
16 as suitable dates but indicating that plaintiffs’ counsel Were available on almost any day
before September 18. A true and correct copy of my September 2, 2003 letter to Mr. Hart is
attached hereto as Exhibit C.

9. In response, on September 4, 2003, defendants indicated that they were
not available on any date prior to September 18 and proposed September 30 and October 6, 2003
as alternative dates. A true and correct copy of Mr. Hart’s September 4, 2003 letter to plaintiffs’
counsel is attached as Exhibit D.

10. On September 3, during the deposition of Jane Doe lV, all parties except
Prasad Lakireddy agreed to stipulate to an extension of the class certification date by one month
to permit plaintiffs to take the depositions of Pasand Madras Cuisine and 1 ay Construction in late
September or early October. The parties also agreed that such an extension would not in any
way affect the discovery cutoff or the trial date.

11. Plaintiffs prepared a stipulation on September 4 and counsel for the non-
Prasad defendants provided a few small edits the following day, which plaintiffs accepted. The
terms of that stipulation were discussed among all counsel and the proposed edits were circulated
during two depositions last week at which counsel for all parties participated

12. Gn September 8, 2003, when plaintiffs circulated the final approved
version of the stipulation for all counsel’s signature, Prasad’s counsel for the first time stated that
they would refuse to sign unless the discovery cutoff and trial date were also pushed back. A
true and correct copy of my September 8, 2003 letter to all counsel enclosing the stipulation and
confirming plaintiffs’ intent to take the 30(b)(6) depositions on September 15 and 16, 2003 is
attached as Exhibit E. A true and correct copy of Gail Quan’s September 9, 2003 letter to me
confirming that Prasad Lakireddy would not sign the stipulation is attached as Exhibit F.

13. The discovery cut-off, class certification deadline, and trial dates have not
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DECLARATION OF R. KIM IN SUPPORT OF MOTION TO
CHANGE TIME ~ CASE NO. C-02-5570

 

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Case 3:02-cv-05570-WHA Document 137 Filed 09/09/03 Page 4 of 28

previously been modified, by stipulation or by Court order.

14. As the non~Prasad defendants’ counsel have conceded, the requested time
modification will not affect other deadlines in the case.

Executed this 9th day of September, 2003, at San Francisco, Califomia.

1 declare under penalty of perjury under the laws of the United States that the

foregoing is true and correct

 

 

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DECLARATION OF R. KIM IN SUPPORT CF MOTION TO
CHANGE TlME ~ CASE NO, C~02-5570

 

Case 3:02-cv-05570-WHA Document 137 Filed 09/09/03 Page 5 of 28

EXHIBIT A

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MICHAEL RUBIN (#80618)

SCOTT A. KRONLAND (#171693)
REBEKAH B. EVENSON (# 207825)
Altshuler, Berzon, Nussbaum, Rubin & Demain
177 Post Street, Suite 300

San Francisco, CA 94108

Telephone: (415) 421-7151

Facsimile: (415) 362-8064

Attomeys for Plaintiffs

1N THE UNITED S'I`ATES DISTR.ICT COURT
NORTHERN DISTRICT OF CALIFORNIA

No. C-02-5570 WHA

NOTICE OF TAKING OF

DEPOSITION OF PASAND MADRAS
CUISINE (Person Most Knowledgeable)

JANE DOE 1, et al.,
Plaintiffs,
v.

LAKIREDDY BALI REDDY, et aI., Date: July 24, 2003
Time: 9:00 a.m.
Place: 177 Post Street, Suite 300,

San Francisco, CA 94108

Defendants.

\'/`/`./\./"/\/\/V\/\/

 

PLEASE TAKE NOTlCE that on Thursday, July 24, 2003, commencing at 9:00 a.m.
plaintiffs will take the oral deposition of Pasand Madras Cuisine pursuant to FRCP 30(b)(6).
The deposition will take place at the law offices of Altshuler, Berzon, Nussbaum, Rubin
& Demain, 177 Post Street, Suite 300, San Francisco, CA 94108 (415/421-7151) before a
Certitied Court Reporter/Notary Public authorized to administer oaths who is present at the
specified time and place. Unless otherwise agreed, this deposition shall continue from day to
day until completed The deposition shall be recorded by stenographic means and by videotape
This examination is requested as to the following matters:
l. The terms and conditions of the named plaintiffs’ employment for the company
[i.e. dates of their employment; hours they worked; their job duties; the locations
where they performed work; the compensation they received; the records that
were kept of their employment; the terms of any contracts of employment.]
2. The employment records maintained by the company between October 1990 and

the present for all employees [i.e. the policy for maintaining and retaining, and

 

NOTICE GF TAKFNG DEPOSITION, Case No. C»02-5570 WHA

 

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Case 3:02-cv-05570-WHA Document 137 El|ed_09/09/03 Page7of 28

 

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current location of, payroll and new hire records, tax retums, EDD, DOL, INS,
Franchise Tax Board, and IRS filings and DOL filings and submissions.]

The organization, ownership, control, and management of the company between
October 1990 and the present [i.e. the names, contact information, and roles of
the company’s owners and managers in the operation of the business, including
the operation of each of the Pasand restaurants; the organizational documents for
the company.]

'l` he role of the company in the conspiracy by Lakireddy Bali Reddy and his
family members to bring lndian nationals to the United States illegally and
employ them in their family businesses

The use of workers employed off-the-books to perform work for the company
from October 1990 to the present. By “off-the-books" we mean that the
employee’s true name and/or correct compensation was not reported to the
Employment Development Department and the Social Security Administration.
[i.e. the names and contact information for these workers; the hours they worked;
the compensation they received; the locations where they performed work; the
records that were kept of their employment.]

The current assets of the company and any transfers of or encumbrances placed
on those assets since November 1999.

The income and expense records of the'company from 1990 to the present [i.e.
what records were kept of the company’s operations and where they are currently
located.]

Administrative claims and lawsuits asserted against the company from October
1990 to the present, including claims by the Department of Labor.

The filing of fomis with the lrnmigration and Naturalization Service by or on
behalf of the company, from October 1990 to the present

The immigration status of company employees from October 1990 and the

present, including whether any of these employees came to the United States on

NOTICE OF TAKI`NG DEPOSITION, Case No. C-02-5570 WHA 2

 

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the basis of fraudulent visas.

Pursuant to FRCP 30(b)(6), the deponent must designate one or more officers, directors,
or managing agents who consent to testify on its behalt`, and may set forth, for each person
designated, the matters on which the person will testify The persons so designated must testify
as to matters known or reasonably available to the organization

lf the deponent(s) will require a translator, please contact the undersigned counsel within
10 days of service of this notice.

A list of all parties or attorneys for parties on whom this Notice is being served is shown
on the accompanying Proof of Service.

Dated: June 12, 2003
Respectfi.\lly submitted,

ALTSHULER, BERZON, NUSSBAUM,
RUBIN & DEMAIN

Scott A. Kronland

 

Attomeys for Plaintit`f`s
F:\Reddy\Global Case\Discovery\Dcposilions\Notices\Pasand.Madras.Cuisinc.6- l 2-03,wpd

 

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Case 3:02-cv-0557_O¢WHA Document 137 Filed 09/09/03 Page 9 of 28 ..

PROOF OF SERVICE

CASE: lane Doe I, et al. v. Lakireddy Bali Reddy, et al.,
CASE NO: U.S. District Court, N.D. Cal., Case No. C-02-5570 WHA

1 am employed in the City and County of San Prancisco, California. 1 am over the age of
eighteen years and not a party to the within action; my business address is 177 Post Street, Suite
300, San Francisco, California 94108. On .lune 12, 2003, 1 served the following documents:

NOTICE OF TAKING OF DEPOSITION OF PASAND MADRAS CUISINE
(Person Most Knowledgeable)

on the parties, through their attorneys of record, by placing true copies thereof in sealed
envelopes addressed as shown below for service as designated below:

(A) By First Class Mail: lam readily familiar with the practice of Altshuler, Berzon for the
collection and processing of correspondence for mailing with the United States Postal
Service. 1 caused each such envelope, with first-class postage thereon fully prepaid, to
be deposited in a recognized place of deposit of the U.S. Mail in San Francisco,
California, for collection and mailing to the office of the addressee on the date shown
herein.

(B) By Facsimile: l caused such document to be served via facsimile electronic equipment

transmission (fax) on the parties in this action by transmitting a true copy to the

following fax numbers:
ADDRESSEE PARTY

A&B William S. Berland Attorneys for Defendants Lakireddy

Ferguson & Berland Bali Reddy, Vijay Kumar Lal<ireddy,
1816 Fili:h Street Jayaprakash Reddy Lakireddy,
Berkeley, CA 94710-1915 Venkateswara Reddy Lakireddy, Pasand
Facsimile: 510/548-3143 Madras Cuisine, Pasand, lnc., Lakireddy

lnvestment Co., L.B. Reddy Estate Co.,
J ay Construction, Active Tech

Solutions, Vani Computer Solutions,
Lakireddy Bali Reddy d/b/a Reddy
Realty Co.
A&B Michael W. Bolechowski Attorneys for Defendants Lakireddy
Mark C. Raskoff Bali Reddy, Vi jay Kumar Lakireddy,
David Hart Jayaprakash Reddy Lakireddy,
Bishop, Barry, Howe, Haney & Ryder Venkateswara Reddy Lakireddy, Pasand
Watergate Tower 111 Madras Cuisine, Pasand, Inc., Lakireddy
2000 Powell Street, Suite 1425 lnvestment Co., L.B. Reddy Estate Co.,
Emeryville, CA 94608 lay Construction, Active Tech
Facsimile: 510/596-0899 Solutions, Vani Computer Solutions,
Lakireddy Bali Reddy dfb/a Reddy
Realty Co.
A&B Jonathan R. Bass Attorneys for Defendant Prasad

Coblentz, Patch, Duf® & Bass, LLP Lakireddy
222 Kearny Street, 7th Floor

San Francisco, CA 94108-4510

Facsimile: 415/989~1663

 

NOTICE OF TAKING DEPOSITION, Case No. C~02-5570 WHA 4

 

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1 declare under penalty of perjury under the laws of the State of California that the
foregoing is true and correct. Executed this June 12, 2003, at San Francisco, Calif`ornia.

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NOTICE OF TAK_ING DEPOSITlON, Case No. C~02'5570 WHA

 

Case 3:O2-cV-0557O-WHA Document 137 Filed 09/09/03 Page 11 of 28

EXHIBIT B

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Case 3:O2-cV-0557O-WHA Document 137 --Eiled.OQ!QQ/O3 Page 12 of 28

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MlCHAEL` RUBIN (#80618)
SCO'l"l` A. KRONLAND (#171693)

LAK]REDDY BALI REDDY, et al.,

Defendants.

 

 

NOTICE OF TAKING DEPOSITION, Case No. C-OZ~S 570 WHA

M

REBEKAH B. EVENSON (# 207825)

Altshuler, Berzon, Nussbaum, Rubin & Demain

177 Post Street, Suite 300

San Francisco, CA 94108

Telephone: (415) 421-7151 .

Facsimile: (415) 362-8064

Attomeys for Plaintiffs

lN THE UNl'l`ED STATES DISTRICT COURT
NORTHERN DISTR.ICT OF CALIFORNIA
JANE DOE 1, et al., _ No. C-02-5570 WHA
Plaintiffs, NGTICE OF TAKING OF
DEPOSITION OF JAY
v. CONSTRUCTION (Persou Most

Knowledgeable)

Date: July 17, 2003
Time: 9:00 a.m.
Place: 177 Post Street, Suite 300,

San Francisco, CA 94108

PLEASE TAK_E NO'I`ICE that on Thursday, July 17, 2003, commencing at 9:00 a.m.
plaintiffs will take the oral deposition of Jay Construction pursuant to FRCP 30(b)(6).
The deposition will take place at the law offices of Altshuler, Berzon, Nussbaum, Rubin
& Demain, 177 Post Street, Suite 300, San Francisco, CA 94108 (415/421»7151) before a
Certified Court Reporter/Notary Public authorized to administer oaths who is present at the
specified time and place. Unless otherwise agreed, this deposition shall continue from day to
day until completed The deposition shall be recorded by stenographic means and by videotape
This examination is requested as to the following matters:
1. The temis and conditions of the named plaintiffs’ employment for the company
[i.e. dates of their employment; hours they worked; their job duties; the locations
Where they performed work; the compensation they received; the records that
were kept of their employment; the temis of any contracts of employment.]
2. The employment records maintained by the company between October 1990 and

the present for all employees [i.e. the policy for maintaining and retaining, and

 

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current location of, payroll and new hire records, tax retums, EDD, DOL, INS,
Franchise Tax Board, and IRS filings and DOL filings and submissions.]

3. The organization, ownership, control, and management of the company between
October 1990 and the present [i.e. the names, contact information, and roles of
the company’s owners and managers in the operation of the business including
the operation of each of the Pasand restaurants; the organizational documents for
the company.]

4. The role of the company in the conspiracy by Lakireddy Bali Reddy and his
family members to bring lndian nationals to the United States illegally and
employ them in their family businesses

5. 'l`he use of workers employed off-the-books to perform work for the company
from October 1990 to the present By “off-the-books” we mean that the
employee’s true name and/or correct compensation was not reported to the
Employment Development Department and the Social Security Administration.
[i.e. the names and contact information for these workers; the hours they worked;
the compensation they received; the locations where they performed work; the
records that were kept of their employment.]

6. The current assets of the company and any transfers of or encumbrances placed
on those assets since November 1999.

7. The income and expense records of the company from 1990 to the present. [i.e.
what records were kept of the company’s operations and where they are currently
located.]

8. Administrative claims and lawsuits asserted against the company from October
1990 to the present, including claims by the Department of Labor.

9. The filing of forms with the Immigration and Naturalization Service by or on
behalf of the company, from October 1990 to the present

10. The immigration status of company employees from October 1990 and the

present, including whether any of these employees came to the United States on

NOTICE OF TAKING DEPOSITION, Case No. C-02-5570 WHA 2

 

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the basis of fraudulent visas

Pursuant to FRCP 30(b)(6), the deponent must designate one or more officers directors,
or managing agents who consent to testify on its behalf, and may set forth, for each person
designated, the matters on which the person will testify The persons so designated must testify
as to matters known or reasonably available to the organization

lf the deponent(s) will require a translator, please contact the undersigned counsel within
10 days of service of this notice.

A list of all parties or attorneys for parties on whom this Notice is being served is shown
on the accompanying Proof of Service.
Dated: June 12, 2003

Respectfully submitted,

ALTSHULER, BERZON, NUSSBAUM,
RUBIN & DEMAIN

By: §.;pl Ml..\

Scott A. Kronland

 

Attomeys for Plaintiffs
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NOTICE OF TAKING DEPOSITION, Case No. C-02-5570 WHA 3

 

Case 3:O2-cV-0557O-WHA Document 137 Filed__QQ_/OQ/O3 Page 15 of 28

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PROOF OF SERVICE
CASE: Jane Doe 1 et al. v. Lakiredd Bali Redd et al.,

 

CASE NO: U.S. District Court, N.D. Cal., Case No. C-02~5570 WHA

1 am employed in the City and County of San Prancisco, Califomia. 1 am over the age of
eighteen years and not a party to the within action; my business address is 177 Post Street, Suite
300, San Francisco, California 94108. On June 12, 2003, Iserved the following documents:

NOTICE OF TAKING OF DEPOSITION OF JAY CONSTRUCTION
(Persou Most Knowledgeable)

on the parties, through their attorneys of record, by placing true copies thereof in sealed
envelopes addressed as shown below for service as designated below: .

(A) By First Class Mail: l am readily familiar with the practice of Altshuler, Berzon for the
collection and processing of correspondence for mailing with the United States Postal
Service. 1 caused each such envelope, with first-class postage thereon fully prepaid, to
be deposited in a recognized place of deposit of the U.S. Mail in San Francisco,
California, for collection and mailing to the office of the addressee on the date shown
herein.

(B) By Facsimile: I caused such document to be served via facsimile electronic equipment
transmission (fax) on the parties in this action by transmitting a true copy to the
following fax numbers:

ADDRESSEIE. PARTY

A&B William S. Berland Attomeys for Defendants Lakireddy
Ferguson & Berland Bali Reddy, Vijay Kumar Lakireddy,
1816 Pifth Street Jayaprakash Reddy Lakireddy,
Berkeley, CA 94710-1915 Venkateswara Reddy Lakireddy, Pasand
Facsimile: 510/548-3143 Madras Cuisine, Pasand, lnc., Lakireddy

investment Co., L.B. Reddy Estate Co.,
J ay Construction, Active Tech
Solutions, Vani Computer Solutions,
Lakireddy Bali Reddy d/b/a Reddy

Realty Co.
A&B Michael W. Bolechowski Attorneys for Defendants Lakireddy
Mark C. Raskoff Bali Reddy, Vij ay Kumar Lakireddy,
David Hart Jayaprakash Reddy Lakireddy,
Bishop, Barry, Howe, Haney & Ryder Venkateswara Reddy Lakireddy, Pasand
Watergate Tower 111 Madras Cuisine, Pasand, lnc., Lakireddy
2000 Powell Street, Suite 1425 lnvestment Co., L.B. Reddy Estate Co.,
Emeryville, CA 94608 Jay Construction, Active Tech
Facsimile: 510/596-0899 Solutions, Vani Computer Solutions,
Lakireddy Bali Reddy d/b/a Reddy
Realty Co.
A&B Jonathan R. Bass Attomeys for Defendant Prasad

Coblentz, Patch, Duffy & Bass, LLP Lakireddy
222 Kearny Street, 7th Floor

San Francisco, CA 94108-4510

Facsimile: 415/989-1663

NOTICE OF TAKING DEPOSITION, Case No. C-02~5570 WHA 4

 

 

Case 3:O2-cV-0557O-WHA Document 137 Filed 09/09/03 Page 16 of 28

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1 declare under penalty of perj ury under the laws of the State of Califomia that the
foregoing is true and correct Executed this lurie 12, 2003, at San Francisco, Califomia.

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NO'I`ICE OF 'I`AKING DEPOSITION, Case No. C-02-5570 WHA

 

Case 3:O2-cV-0557O-WHA Document 137 Filed 09/09/03 Page 17 of 28

EXHIBIT C

Case 3:O2-cV-0557O-WHA Document 137 Filed 09/09/03 Page 18 of 28

Randall T. Kim 505 Montgomery Street, Suite 1900
Direct Dial: (415) 395-8206 San Francisco, Califomla 94111-2562
randall.kim@lw.com Tel: (415) 391~0600 Fax: (415) 395~8095
www.lw.com
FlRM / AFF|L!ATE OFFK§ES
L AT H A M &WAT K l N S LLP ama Newie,$ey
Brussels New Yorl<
Chieago Northern Virginia
Frankfurt Orange County
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Moscow Tokyo

Washington, D.C.
File No. 037076-0000

Michael W. Bolechowski

David Hart

Bishop, Barry, Howe, Haney & Ryder
Watergate Tower 111

2000 Powell Street, Suite 1425
Emeryville, CA 94608

Re: Jane Doe I, et al. v. Lakireddy Bali Reddv. et al.

Dear Counsel:

Lakireddy Bali Reddy still has not provided an adequate response to Interrogatories Nos.
20 and 22 of Plaintiff .1 ane Doe I’s first set of interrogatories which seek the identities of Mr.
Reddy’s co-conspirators. We assume that your position has not changed with respect to this
issue since the parties’ earlier meet-and-confer efforts As such, unless we hear from you by the

end of today, we will prepare plaintiffs’ half of a letter brief and submit it to defendants
tomorrow.

l am also awaiting a response from you regarding the availability and identity of the
persons most knowledgeable about the FRCP 30(b)(6) deposition notices served upon Pasand
Madras Cuisine and J ay Construction. We are available almost most days between now and
September 18. lf we do not receive a response today, we will seek Magistrate James’
intervention to compel the depositions of representatives of Pasand Madras Cuisine and 1 ay
Construction on September 15 and 16, respectively

1 look forward to hearing from you.
Truly yours,

tk®

Randall T. Kim
of LATHAM & WATKINS LLP

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cc: All counsel

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EXHIBIT D

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VIA FAC`SI.MlLE & US MAIL

Michael Rubin, Esq. Peter A. Wald, Esq.

Scott Kronland, Esq. John F. Flynn, Esq.

Rebekah Evenson, Esq. Randall T. Kim, Esq.

Altshuler, Berzon, Nussbaum, Rubin & Demain Shannon M. Eagan, Bsq,

177 Post Street, Suite 300 Lathan & Watkins LLP

San Francisco, California 94108 505 Montgomery Street, Suite 1900
Fax: 415~362-8054 San Francisco, CA 94111

Fax: 415-395~8095

Re: lane Doe v. Lakireddy Bali Reddy
Dear Counsel:
The purpose of this letter is to address outstanding discovery issues

On Friday August 29, 2003 you requested that the PMK depositions for J ay Construction
and Pasand Madras Cuisine be September IS‘h and 16l respectively We will treat your oral
request the same as if you had sent a deposition notice 111 accordance with 1 ridge Alsup’s order
we have selected two dates for these depositions within thirty days of your request For Jay
Consrruction we are available October 6, 2003. Fc-r Pasand Madras Cuisine we are available
September 30, 2003.

During our meet and confer yesterday, we wanted to discuss scheduling of additional
depositions prior to sending notices as required by Judge Alsup’s Order. For your own reasons
you were unwilling to discuss future scheduling We will proceed to notice the next group of
depositions with the understanding that dates may have to be moved

We have still not received the interrogatories you agreed to supplement When may we
expect the answers to the supplemented interrogatories?

111 your third request for production of documents you request all documents received
pursuant to subpoena Up until now, we have been producing these documents informally 111
response to your document request, 1 will hold the new documents we receive from subpoenas
until the date you specified in your third request for production of documents

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Counsel

Re: Jane Doe v. Lakireddy Bali Reddy
September 4, 2003

Page 2

 

Should your have any questions eonoeming the above do not hesitate to contact this writer
Very truly yours,
BISHOP, BARRY, HOWE, HANEY & RYDER

,/ /
By: ----"~'~~---._._ v _ --
Miohael W. Bolechowski
David L. H&It

DLH
co All Defense Counsel
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EXHIBIT E

Case 3:02-CV-0557O-WHA Document 137 Filed 09/09/03 Page 23 of 28

Randa|l T. Kim 505 Montgomery Street, Suite 1900

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September 8 2003 London San Francisco

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Washington, D.C.

Fiie No. 037076-0000

Michael W. Bolechowski Jonathan R. Bass

David Hart Naomi Rustomj ee

Bishop, Barry, Howe, Haney & Ryder Gail Qua;n

Watergate Tower III Coblentz, Patch, Duffy & Bass, LLP

2000 Powell Street, Suite 1425 One Ferry Building, Suite 200

Emeryville, CA 94608 San Francisco, CA 94111

Re: Jane Doe I, et al. v. Lakireddy Bali Reddv, et al.
Dear Counsel:

Attached please find a stipulation regarding the class certification deadline, as edited by
Mr. Bolechowski If it meets With your approval, please either sign it and return by fax or send
me an email permitting me to electronically sign on your behalf. We Would like to get the
stipulation filed first thing this morning, if possible

Unless Judge Alsup approves the parties’ stipulation, We Will have no choice but to take
the depositions of Pasand Madras Cuisine’s and Jay Construction’s 30(b)(6) designees on
September 15 and 16, respectively If the appropriate Witnesses are truly unavailable on those
dates, we suggest you seek relief from Magistrate J ames immediately We are willing to respond
to your half of a letter brief on a compressed schedule as necessary

Thank you for your immediate attention to this matter.

Truly yours,

    

Randau . Kim
Of LATHAM & WATKINS LLP

cc: All counsel

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Case 3:02-CV-0557O-WHA Document 137 Filed 09/09/03 Page 24 of 28

LATHAM & WATKINS LLP
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Attorneys for Plaintiffs

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNM

JANE DOE I, et al., CASE NO. C-02-5570~WHA

Plaintiffs,
STIPULATION & PROPOSED ORDER

v. EXTENDING PLAINTIFFS’ DEADLINE TO
MOVE FOR CLASS CERTIFICATI()N
LAKIREDDY BALI REDDY, et al.,
EXPEDITED CONSIDERATION
Defendants. REQUESTED

 

 

The parties jointly request that the Court approve the parties’ stipulation that the
date by Which plaintiffs must move for class certification be extended from September 18, 2003
to October 20, 2003.

Good cause exists for this request The plaintiffs originally noticed the

depositions of defendants Pasand Madras Cuisine and J ay Construction for August 15, 2003,

 

 

STIPULATION TO EXTEND CLASS CERTIFICATION
DEADLINE ~ CASE NO. C-02~5570

 

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Case 3:O2-cV-0557O-WHA Document 137 Filed 09/09/03 Page 25 of 28

pursuant to the Court’s standing orders. Prior to receiving the Court’s August 4, 2003 order
regarding the deadline by which the plaintiffs were required to move for class certification, at the
request of the defendants, the plaintiffs agreed to take those depositions off calendar and rc-
schedule them on mutually convenient dates. Defendants Pasand Madras Cuisine and J ay
Construction have recently informed plaintiffs’ counsel that their 30(b)(6) representatives are not
available for deposition until late September or early October. These depositions are necessary
for plaintiffs’ motion to certify a wage and hour class.

In addition, the parties have agreed that this extension will not affect any other
deadlines, including but not limited to the trial date of March 29, 2003.

The parties respectiiilly request that the Court consider the parties’ request

immediately
Respectfully submitted,
Dated: September __, 2003 LATHAM & WATKINS LLP
Peter A. Wald
John P. Flyrin

Randall T. Kim
Shannon M. Eagan

ALTSHULER, BERZON, NUSSBAUM,
RUBIN & DEMAIN

Michael Rubin

Scott A. Kronland

Rebekah B. Evenson

By

 

ATTORNEYS FOR PLAINTIFFS

 

 

STIPULATION TO EXTEND CLASS CERTIFICATION
DEADLlNE ~ CASE NG. C~02-5570

 

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Case 3:O2-cV-0557O-WHA Document 137 Filed 09/09/03 Page 26 of 28

Dated: September _____, 2003 BISHOP, BARRY, HOWE, HANEY& RYDER
Michael W. Bolechowski
David L. Hart

FERGUSON & BERLAND
William S. Berland

 

ATTORNEYS FOR LAKIREDDY BALI
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JAYAPRAKASH REDDY LAKIREDDY,

7 VENKATESWARA REDDY
LAKIREDDY, PASAND MADRAS
CUISINE, PASAND, INC., LAKIREDDY
INVESTMENT CO., L.B. REDDY
ESTATE CG., JAY CONSTRUCTION,
ACTIVE TECH SOLUTIONS, VANI
COMPUTER SOLUTIONS, LAKIREDDY
BAILI REDDY D/B/A/ REDDY REALTY
CO.

Dated: September _, 2003 COBLENTZ, PATCH, DUFFY & BASS, LLP
Jonathan R. Bass

Naomi Rustomj ee
Gail N. Quan

LAW OFFICE OF PAUL DELANO WOLF
Paul Delano Wolf

By

 

ATTORNEYS FOR PRASAD
LAKIREDDY

ORDER
Based on the foregoing, it is hereby ORDERED that the deadline for plaintiffs to

move for class certification is continued to October 20, 2003.

 

DATED this day of September, 2003.
THE HONORABLE WILLIAM H. ALSUP
United States District Judge

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STIPULATION TO EXTEND CLASS CERTIFICATION
DEADLINE - CASE NO, C-02-5570

 

Case 3:O2-cV-0557O-WHA Document 137 Filed 09/09/03 Page 27 of 28

EXHIBIT F

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PATCH DUFFY One Ferry suilrling. Su_iit 200 main: 415.391.4800
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Ga.tl G. Quan Direct Dial: (415) 772»5'740

gquan@coblemziaw.com

September 9, 2003

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VlA FACS|M|LE & MA|L

 

Rendell T. Kim

Latham 81 Watkins LLP

505 Montgomery Street, Suite 1900
San Franclsco. CA 94111-2562

Re: Doe l et a|. v. Lakiredd Ba|i Redd et ei.
United States District Court. N. D. Cal., Case No. C 02-5570 WHA

Dear Mr. Kim:

This confirms the voicernail message that l left you yesterday regarding plaintiffs
proposed Stipulation and Proposed Order Extending Plaintiffs’ Deedline to Move for
Class Certification. Unless, plaintiffs agree to stipulate to end submit a proposed order
extending the deadline for non-expert discovery and the trial date by one month esch.
This would extend the deadline for non-expert discovery to approximately December 22,
2003 and the trial date to April 29, 2003.

Wlthout the extension of time regarding the non-expert discovery cut-off,
defendants will not have sufficient time to conduct discovery in support of their
opposition to plaintiffs motion for class certification

Pleeee contact me at (415) 772-5740 lt you wish tc discuss this matter further.

Very truly y urS.

Gail Quan

cc (vis fax): Scott A. Kronland, Esq.
Michssl W. Bolechowski, Esq.
Paul D. Wolf, Esq.

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